Case 16-32728      Doc 48   Filed 02/13/19 Entered 02/13/19 14:52:59     Desc Main
                              Document     Page 1 of 2


 CLAIM FOR TAXES IMPOSED BY THE INTERNAL REVENUE LAWS OF THE
 UNITED STATES IN THE UNITED STATES BANKRUPTCY COURT FOR THE
 NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION.


   IN THE MATTER OF                                      DOCKET NUMBER
   Chadell M. Tribett                                    16-32728
   9147 S. Woodlawn Ave.
   Chicago, IL. 60619                                    TYPE OF PROCEEDING

                                                         CHAPTER 13


                            WITHDRAWAL OF CLAIM

 THE UNITED STATES OF AMERICA BY THE UNDERSIGNED OFFICER OF THE
 INTERNAL REVENUE SERVICE, A DULY AUTHORIZED AGENT IN THIS
 BEHALF, HEREBY WITHDRAWS THE PROOF OF CLAIM FOR FEDERAL TAX
 FILED IN THE PROCEEDING AS FOLLOWS:

 KIND OF TAX AND PERIOD                AMOUNT DUE           DATE ASSESSED

 1040/12-31-2015                        $6,734.79           12/25/2017




 REMARKS:                                      DATED THIS 13TH DAY OF
 IRS proof of claim 18-1 is being withdrawn.   FEBRUARY 2019



                                               UNITED STATES OF AMERICA


                                               BY:    K. Williams
                                               _________________________
                                                 for CHIEF, INSOLVENCY GROUP 1

                                               THE RIGHT TO WITHDRAW THIS
                                               CLAIM IS HEREBY GRANTED
Case 16-32728   Doc 48   Filed 02/13/19 Entered 02/13/19 14:52:59   Desc Main
                           Document     Page 2 of 2
